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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF LOUISIANA

JUNIOR ANTOINE                                                       CIVIL ACTION

VERSUS                                                               NO. 21-2176

ST. CHARLES INVESTMENTS, LLC, ET AL.                                 SECTION: “I” (3)


                                     ORDER OF DISMISSAL

           The Court having been advised by counsel for the parties that all of the parties to this

action have firmly agreed upon a compromise,

           IT IS ORDERED that the action be and it is hereby dismissed without prejudice to the

right, upon good cause shown, within a reasonable time, to reopen the action or to seek summary

judgment enforcing the compromise if settlement is not consummated.             The Court retains

jurisdiction for all purposes, including enforcing the settlement agreement entered into by the

parties.

           COUNSEL ARE REMINDED THAT, if witnesses have been subpoenaed, EVERY

WITNESS MUST be notified by counsel not to appear.

           New Orleans, Louisiana, this 3rd day of May, 2022.



                                                       _________________________________
                                                       LANCE M. AFRICK
                                                       UNITED STATES DISTRICT JUDGE
